Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page1of20 PagelD 63

 

$787M.55025
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION
CYNTHIA OVERTON,
Plaintiff,
v. Docket #1:23-cv-01082

STATE FARM FIRE AND CASUALTY
COMPANY, GLORIA JARVIS, and
RYAN BROWN,

Defendants,

 

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS OF
DEFENDANTS, GLORIA JARVIS AND RYAN BROWN

 

Defendants, Gloria Jarvis and Ryan Brown (“these Defendants’), by and through counsel,

submit this memorandum of law in support of their Motion to Dismiss.

Introduction

This Court should dismiss Plaintiff's claim against these Defendants for insufficient service
of process under Rule 12(b)(5) of the Federal Rules of Civil Procedure. Plaintiff failed to properly
serve process these Defendants a manner that complies with either the Federal Rules of Civil
Procedure or Tennessee law. Specifically, Plaintiff did not (1) deliver a copy of the summons and
Complaint to these Defendants personally, (2) leave a copy of the summons and Complaint at these
Defendants’ dwelling or usual place of abode with someone of suitable age and discretion who
resides there, or (3) deliver a copy of the summons and Complaint to an agent authorized by

appointment or by law to receive service of process. Accordingly, Plaintiff has failed to perfect
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 2o0f20 PagelD 64

service upon these Defendants and dismissal is proper on this basis. See Friedman v. Estate of
Presser, 929 F.2d 1151, 1156 (6th Cir. 1991).
Pertinent Facts

1. Plaintiffs filed a Complaint on March 30, 2023, in the Circuit Court of Madison
County, Tennessee. (D.E. 3, p. 4). The action was subsequently removed to this Court. (D.E. 2).

2. A summons was issued to Defendant Gloria Jarvis and served on the Tennessee
Secretary of State along with the Complaint. (Summons with proof of mailing attached hereto as
Exhibit 1). The Tennessee Secretary of State mailed the copy of the summons and Complaint to
Defendant Jarvis at One State Farm Plaza, Bloomington, Illinois, 61710.

3. A summons was issued to Defendant Ryan Brown and served on the Tennessee
Secretary of State along with the Complaint. (Returns summons attached hereto as Exhibit 2).
The Tennessee Secretary of State mailed the copy of the summons and Complaint to Defendant
Brown at One State Farm Plaza, Bloomington, Illinois, 61710.

4, Defendant Jarvis has not been personally served with a copy of the summons and
Complaint. (Declaration of Gloria Jarvis | 4 attached hereto as Exhibit 3).

5. A copy of the summons and Complaint has not been left at Defendant Jarvis’
dwelling or usual place of abode with someone of suitable age and discretion who resides there.
(Declaration of Jarvis { 5).

6. A copy of the summons and Complaint has not been delivered to an agent
authorized by appointment or by law to receive service of process for Defendant Jarvis.
(Declaration of Jarvis { 6).

7. Defendant Brown has not been personally served with a copy of the summons and

Complaint. (Declaration of Ryan Brown { 4 attached hereto as Exhibit 4).
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 3of20 PagelD 65

8. A copy of the summons and Complaint has not been left at Defendant Brown’s
dwelling or usual place of abode with someone of suitable age and discretion who resides there.
(Declaration of Brown { 5).

9. A copy of the summons and Complaint has not been delivered to an agent
authorized by appointment or by law to receive service of process for Defendant Brown.
(Declaration of Brown { 6).

Legal Standard

Federal Rule of Civil Procedure 12(b)(5) authorizes a trial court to dismiss a case for
“insufficient service of process.” Fed. R. Civ. P. 12(b)(5). From the outset of a lawsuit, the burden
is on the plaintiff to ensure that the defendant is properly served with a summons and a copy of
the complaint. See Fed. R. Civ. P. 4(c)(1). Once the validity of service of process has been
contested, the plaintiff bears the burden of establishing its validity. As/ani v. Sparrow Health Sys.,
No. 1:08-CV-298, 2009 U.S. Dist. LEXIS 134430, at *6 (W.D. Mich. Apr. 16, 2009). “In deciding
a motion to dismiss under 12(b)(5), a court may consider matters outside of the pleadings, such as
affidavits.” Pendleton v. Williams, No. 3:12-cv-00376, 2013 U.S. Dist. LEXIS 81430, at *1 (M.D.
Tenn. June 10, 2013). Faced with a Rule 12(b)(5) motion, a trial court has the discretion to dismiss
the action or to quash service and direct that proper service be made. Parker v. Unknown Keller,
No. 2:17-cv-00102, 2019 U.S. Dist. LEXIS 82866, at *3 (W.D. Mich. Apr. 22, 2019).

Argument

Absent proper service of process, a court cannot exercise jurisdiction over a defendant.
Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999). (“Before a. . . court
may exercise personal jurisdiction over a defendant, the procedural requirement of service of

summons must be satisfied.”). Under Federal Rule of Civil Procedure 4(h)(1), a plaintiff may
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effect service of process on an individual within a judicial district of the United States in four
ways: (1) following state law for serving a summons in an action brought in courts of general
jurisdiction in the state where the district court is located or where service is made, (2) delivering
a copy of the summons and of the complaint to the individual personally, (3) leaving a copy of the
summons and of the complaint at the individual's dwelling or usual place of abode with someone
of suitable age and discretion who resides there, or (4) delivering a copy of the summons and
complaint to an agent authorized by appointment or by law to receive service of process. Fed. R.
Civ. P. 4(e). A defendant’s actual notice of a particular lawsuit is insufficient to satisfy a plaintiff's
obligation to properly effect service under Rule 4. See Friedman v. Estate of Presser, 929 F.2d
1151, 1156 (6th Cir. 1991) (holding that district court erred in determining that actual notice of
action cured insufficient service of process). In determining whether proper service was effected,
it is irrelevant whether a defendant filed an answer or had actual knowledge of the lawsuit. See
Taylor v. Stanley Works, No. 4:01-cv-120, 2002 U.S. Dist. LEXIS 26892, at *10 (E.D. Tenn. July
16, 2002) (citing LSJ Investment Co., Inc. v. O.L.D., Inc., 167 F.3d 320, 322 (6th Cir. 1999)).
Under Tennessee law, service on an individual within the state can be made by delivering
a copy of the summons and of the complaint to the individual personally. Tenn. R. Civ. P. 4.04(1).
If the individual evades service, service can be made by leaving copies of the summons and
complaint at the individual's dwelling house or usual place of abode with some person of suitable
age and discretion then residing therein, whose name shall appear on the proof of service, or by
delivering the copies to an agent authorized by appointment or by law to receive service on behalf
of the individual served. Tenn. R. Civ. P. 4.04(1). The standards for proper service of process of
an individual under both Tennessee and federal law are nearly identical. Service on an individual

outside the state can be made by any form of service pursuant to Tennessee Rule of Civil Procedure
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 5of20 PagelD 67

4.04, in any manner prescribed by the law of the state in which service is effected for an action in
any of the courts of general jurisdiction in that state, or as directed by the court. Tenn. R. Civ. P.
4.05(1). The Tennessee Secretary of State may be served as the agent for an out-of-state defendant,
but the Secretary of State must send the copy of the summons and complaint to the defendant.
Tenn. R. Civ. P. 4B.

Plaintiff failed to properly serve Defendant Brown. Defendant Brown is a Tennessee
resident. See Declaration of Brown 93. Plaintiff did not deliver a copy of the summons and
Complaint to Defendant Brown personally. See Declaration of Brown {| 4. Plaintiff did not leave
a copy of the summons and Complaint at Defendant Brown’s dwelling or usual place of abode
with someone of suitable age and discretion who resides there. See Declaration of Brown { 5.
Plaintiff did not deliver a copy of the summons and Complaint to an agent authorized by
appointment or by law to receive service of process for Defendant Brown. See Declaration of
Brown 4 6. Therefore, Plaintiff failed to serve Defendant Brown in a manner that complies with
Federal Rule of Civil Procedure 4(e) or Tennessee Rule of Civil Procedure 4.04(1).

Plaintiff failed to properly serve Defendant Jarvis. Defendant Jarvis is a Texas resident.
Plaintiff did not deliver a copy of the summons and Complaint to Defendant Jarvis personally. See
Declaration of Jarvis § 4. Plaintiff did not leave a copy of the summons and Complaint at
Defendant Jarvis’s dwelling or usual place of abode with someone of suitable age and discretion
who resides there. See Declaration of Jarvis ] 5. Plaintiff did not deliver a copy of the summons
and Complaint to an agent authorized by appointment or by law to receive service of process for
Defendant Jarvis. See Declaration of Jarvis { 6. Plaintiff served the Tennessee Secretary of State

but included the incorrect address on the summons, meaning Defendant Jarvis did not receive a
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copy of the summons or Complaint because the Tennessee Secretary of State sent it to Iinois.!
See Declaration of Jarvis § 7. To date, Defendant Jarvis has not received a copy of the summons
or Complaint. Plaintiff failed to serve Defendant Jarvis in a manner that complies with Federal
Rule of Civil Procedure 4(e), Tennessee Rule of Civil Procedure 4.04(1), Tennessee Rule of Civil
Procedure 4.05(1), or Tennessee Rule of Civil Procedure 4B.

Because Plaintiff has failed to properly serve process these Defendants a manner that
complies with either the Federal Rules of Civil Procedure or Tennessee law, the Court should
dismiss this action under Federal Rule of Civil Procedure 12(b)(5) or, at minimum, quash service.
See Cleaborn v. Youth Vills., No. 11-3043-STA-tmp, 2012 U.S. Dist. LEXIS 120115, at *8 (W.D.
Tenn. Aug. 24, 2012) (holding that defects in service of process entitled defendant to have
summons quashed, allowing plaintiff 14 days to perfect service and file the proper return, and
warning that failure to do so will result in dismissal).

For all of the foregoing reasons, these Defendants respectfully request the entry of an order

dismissing the Complaint against them for insufficient service of process.

 

1 Notably, the Complaint alleges that Defendant Jarvis is a Tennessee resident (incorrect) with a
principal place of business in Illinois (incorrect). Plaintiff attempted to serve Defendant Brown
and Defendant Jarvis — both of whom he thought were Tennessee residents — by serving the
Tennessee Secretary of State and having the Secretary of State send the summons to an address in
Illinois where Plaintiff knew these Defendants did not reside.

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Respectfully submitted,

LEWIS THOMASON, P.C.

s/R. Kent Francis

Christopher L. Vescovo (BPR #14516)
R. Kent Francis (BPR #34239)

Suite 2900, One Commerce Square

40 S. Main Street

Memphis, TN 38103-5529

(901) 525-8721
cvescovo@lewisthomason.com

kfrancis@lewisthomason.com

Attorneys for Defendant State Farm Fire and
Casualty Company

CERTIFICATE OF SERVICE

I hereby certify that on the 26" day of May, 2023, a copy of the foregoing pleading has
been delivered to the following by the Court’s electronic filing system (ECF) and email:

Drayton D. Berkley (BPR #22601)
Berkley Law Firm, PLLC

1255 Lynnfield Ste 226

Memphis, TN 38119

(901) 322-8706
attorneyberklev@gmail.com

Attorney for Plaintiff
s/R. Kent Francis

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Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 8of20 PagelD 70

 

 

Division of Business and
Charitable Organizations

 

 

 

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STATE OF TENNESSEE CASE FILE NUMBER
26 JUDICIAL DISTRICT S U M M ON S C-24 4
CIRCUIT COURT “T
PLAINTIFF DEFENDANT
STATE FARM AND CASUALTY COMPANY, GLORIA
CYNTHIA OVERTON JARVIS, and RYAN BROWN
: vs.
TO: (NAME & ADDRESS OF DEFENDANT)
GLORA JARVIS
One State Farm Plaza, Bloomington, Illinois 61710
NAIC # 25178

List each defendant on a separate summons.

YOU ARE HEREBY SUMMONED TO DEFEND A CIVIL ACTION FILED AGAINST YOU IN CIRCUIT COURT,
RUTHERFORD COUNTY, TENNESSEE. YOUR DEFENSE MUST BE MADE WITHIN THIRTY (30) DAYS FROM THE
DATE THIS SUMMONS IS SERVED UPON YOU. YOU ARE DIRECTED TO FILE YOUR DEFENSE WITH THE CLERK
OF THE COURT AND SEND A COPY TO THE PLAINTIFF'S ATTORNEY AT THE ADDRESS LISTED BELOW. IF YOU

FAIL TO DEFEND THIS ACTION BY THE ABOVE DATE, JUDGEMENT BY DEFAULT CAN BE RENDERED AGAINST
YOU FOR THE RELIEF SOUGHT IN THE COMPLAINT.

 

 

 

 

 

 

Attorney for plaintiff: DATE ISSUED & ATTESTED

etanart Ps ey / 1255 Lynnfield Ste 226 % - 20 -2%

Phone: 901.800.8349 / Ofc: (901) 322-8706 Circuit Court Clerk ~ Dik

Sos on enaroget oA Covi vente
| Go Ween, CERTIFICATION |

 

|, MEUISSA-HARRELS, Clerk of the Circuit Court of Ruthbtiort County, Tennessee, do certify this to be true
and correct copy of the original summons issued in this cause. ©

 

 

 

 

 

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eo, 3 &
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U4
BY: DEPUTY BERK
a oe 9 *
TOTHE SHERIFF: DATE RECEIVED <b As
on =m
Please execute this summons and make your return ff =i = a
within thirty days of issuance as provided by law. Sheri 7 2? a
RETURN ON PERSONAL SERVICE OF SUMMONS a7 oe

 

i hereby certify and return that | served this summons together with the complaint as follows:

 

IF YOU HAVE A DISABILITY AND

REQUIRE ASSISTANCE PLEASEJCALL
© 1-731-988-3070

 

 

DATE OF PERSONAL SERVICE:

 

Sheriff

 

BY:

 

 

 

Submit three copies: service copy, defendant’s copy, file copy. ADA COORDINATOR (615-494-4480)

€c0c/Z 1/0
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 10o0f 20 PagelD 72

 

 

 

Casé T:23-cv-01082, Document 3 Filed 05/10/23 Page 30f38 PagelD 9

@

 

ACCEPTANCE OF SERVICE

 

Ido hereby accept service of process and a copy of this complaint in this cause for afl purposes.
This the ane . day of , 20 .

 

RETURN ON SERVICE OF SUMMONS BY MAIL

 

 

 

 

 

 

 

 

| hereby certify and return that on the day of ,20 _, | sent, postage prepaid
by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy
of the complaint in case # to the defendant , onthe

day of ,20 . Lreceived the return receipt, which has been signed
by on the day of __, 20 . The return

 

receipt is attached to this original summons to be filed by the Clerk of Court.

 

Signature of plaintiff, plaintiff's attomey or other person
Sworn to and subscribed before me this day | authorized by statute to serve process

of , 20 .

 

My Commission Expires: , 20

 

NOTICE OF PERSONAL
PROPERTY EXEMPTION

 

TO THE DEFENDANT(S):

Tennessee taw provides a ten thousand dollar ($10,000.00)
debtor's equity interest personal property exemption from
execution or seizure to satisfy judgment. !f a judgment should be

entered against you in this action and you wish to claim property as ATTACH
exempt, you must file a written list, under cath, of the items you RETURN
wish to claim as exempt with the clerk of the court. This list may be

filed at any time and may be changed by you thereafter as Ree

necessary; however, unless it is filed before the judgment becomes
final, it witl not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically
exempt by law and do not need to be listed; these include items of
necessary wearing apparel (clothing) for yourself and your family
and trunks or other receptacles necessary to contain such apparel,
family portraits, the family Bible, and school books. Should any of
these items be seized you would have the right to recover them. If
you do not understand your exemption right or how to exercise it, ,
you may wish to seek the counsel of a lawyer.

Mail list to: MELISSA HARRELL, Circuit Court Clerk
Room 106, Judicial Center
116 W. Lytle Street
Murfreesboro, TN 37130

(IF APPLICABLE)

 

Please state fila number on list.

 

 

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Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 11of20 PagelD 73

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»)

Division of Business Services
Department of State

State of Tennessee
312 Rosa L. Parks AVE, 6th FL

 

 

een Nashville, TN 37243-1102
Tre Hargett ashwies q
Secretary of State
GAIL MOONEY 04/27/2023
at aS NBERTY ST Case #:C-23-77
: - Certified #:9489009000276449111976

JACKSON, TN 38301

RE: CYNTHIA OVERTON,
VS: STATE FARM AND CASUALTY COMPANY, GLORIA JARVIS, AND RYAN BROWN

Dear Clerk,
Enclosed are the following papers in the above styled case:

Original Summons
Affidavit and Endorsement
Registered or Certified Return Receipt signed by:
SEE USPS
C] Registered or Certified letter returned refused
L] Registered or Certified letter returned undelivered with notation:

Sincerely,

de Tiugsth

Tre Hargett
Secretary of State

EXHIBIT

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RDA 1003

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Enclosures: Original Documents
SS-4210 (Rev. 8/15)
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 12o0f20 PagelD 74

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=’ | STATE OF TENNESSEE CASE FILE NUMBER
26" JUDICIAL DISTRICT SU Mi MONS C-23-77

CIRCUIT COURT _

PLAINTIFF DEFENDANT
STATE FARM AND CASUALTY COMPANY, GLORIA -
CYNTHIA OVERTON JARVIS, and RYAN BROWN
vs.
TO: (NAME & ADDRESS OF DEFENDANT)
RYAN BROWN
One State Farm Plaza, Bloomington, Illinois 61710
NAIC # 25178

 

 

RUTHERFORD COUNTY, TENNESSEE. YOUR DEFENSE MUST BE MADE WITHIN THIRTY (30) DAYS FROM THE
DATE THIS SUMMONS IS SERVED UPON YOU. YOU ARE DIRECTED TO FILE YOUR DEFENSE WITH THE CLERK
OF THE COURT AND SEND A COPY TO THE PLAINTIFF’S ATTORNEY AT THE ADDRESS LISTED BELOW. IF YOU
FAIL TO DEFEND THIS ACTION BY THE ABOVE DATE, JUDGEMENT BY DEFAULT CAN BE RENDERED AGAINST

YOU FOR THE RELIEF SOUGHT IN THE COMPLAINT.
Attorney for plaintiff: DATE ISSUED & ATTESTED
3-30-23

Drayton D. Berkley, 022601 / 1255 Lynnfield Ste 226
Memphis, TN 38119
ee Circuit Court Clerk — Peeu They

Phone: 901.800.8349 / Ofc: (901) 322-8706
ay: (4 Greer Deputy Clerk

Fax: (901) 881-0316

 

 

 

 

 

 

 

 

 

 

 

attorneyberkley@gmail.com
‘ CERTIFICATION
L, MEHSSA- HARRELL Clark of the Circuit Court of ounty, Tennessee, do certify this to be true
and correct copy of the original summons issued in this cause.
uv)
BY: DEPURY CLERE 2

TO THE SHERIFF: DATE RECEIVED x - 3 ry |

x cH
Piease execute this summons and make your return Be or = = }
within thirty days of Issuance as provided by law. Sheriff S0) m= mo):
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RETURN ON PERSONAL SERVICE OF SUMMONS 241 Po

 

 

 

REQUIRE ASSISTANCE PLEASE CALL

| hereby certify and return that ! served this summons together with the complaint as follows
ADA
Let YOU HAVE A DISABILITY AND
© 1-731-988-3070

 

 

 

DATE OF PERSONAL SERVICE:
Sheriff

 

BY:

 

ADA COORDINATOR (615-494-4480)

 

 

Submit three copies: service copy, defendant's copy, file copy.
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 13 o0f 20 PagelD 75

fc " %

Fi L E D Division of Business Services

. Department of State

State of Tennessee
312 Rosa L. Parks AVE, 6th FL
Nashville, TN 37243-1102

  

 

 

Secretary of State

AFFIDAVIT AND ENDORSEMENT
Case #: C-23-77 . 04/27/2023
Certified # 9489009000276448111976 ' §OS Summons #: 13633490

RE: CYNTHIA OVERTON,
VS: STATE FARM AND CASUALTY COMPANY, GLORIA JARVIS, AND RYAN BROWN

I, DEBORAH CHANEY, having been duly authorized by Tre Hargett, Secretary of State of
Tennessee, do hereby make oath on his behalf and under authorization as follows:

That on 04/05/2023, | received from the plaintiff. the original and certified copies of the
process, notice or demand issued against BROWN, RYAN AKA/POE: NAIC #25178
whose address is: ONE STATE FARM PLAZA, BLOOMINGTON, IL_61710
and that on 04/11/2023, | mailed by registered or certified return-receipt mail the certified copies
of the process, notice, or demand to the above address together with a written notice that service
was made.

 

 

| further make oath that the return receipt for the registered or certified letter was received
at my office in Nashville, Tennessee, on 04/26/2023, and returned to MADISON COUNTY -

CIRCUIT COURT of JACKSON, TN on 04/27/2023.

Tre Hargett
Secretary of State

* yd Devoe S CTcans

Swom to and subscribed before me this

WA day of Pow 20 a3

 

 

Notary Publi

My Commission Expires: 3-3-4

SS-4201(Rev. 9/15) RDA 1603

 
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 14o0f20 PagelD 76

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5 F--3K% ‘ 74

 

7 ACCEPTANCE OF SERVICE

 

1 do hereby accept service of process and a copy of this complaint in this cause for all purposes.
This the day of , 20

 

RETURN ON SERVICE OF SUMIVIONS BY MAIL

 

| hereby certify and return that on the day of _, 20 __, | sent, postage prepaid
by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy
of the complaint in case # to the defendant ,onthe

day of ,20 . |received the return receipt, which has been signed
by on the day of , 20 . The return
receipt is attached to this original summons to be filed by the Clerk of Court.

 

. . Signature of plaintiff, plaintiff's attorney or other person
Sworn to and subscribed before me this day | authorized by statute to serve process

of , 20

 

My Commission Expires: ,20

 

NOTICE OF PERSONAL
PROPERTY EXEMPTION

 

 

TO THE DEFENDANT(S):

Tennessee law provides a ten thousand dollar ($10,000.00)
debtor's equity interest personal property exemption from
execution or seizure to satisfy judgment. If a judgment should be
entered against you in this action and you wish to claim property as ATTACH
exempt, you must file a written list, under oath, of the items you RETURN
wish to claim as exempt with the clerk of the court. This list may be

filed at any time and may be changed by you thereafter as RECEIPT
necessary; however, unless it is filed before the judgment becomes HERE
final, it will not be effective as to any execution or garnishment (IF APPLICABLE)

issued prior to the filing of the list. Certain items are automatically
exempt by law and do not need to be listed; these include items of
necessary wearing apparel (clothing) for yourself and your family
and trunks or other receptacles necessary to contain such apparel,
family portraits, the family Bible, and schoo! books. Should any of
these items be seized you would have the right to recover them. If
you do not understand your exemption right or how to exercise it,
you may wish to seek the counsel of a lawyer.

Malt list to: MELISSA HARRELL, Circuit Court Clerk
Room 106, Judicial Center
116 W. Lytle Street
Murfreesboro, TN 37130

 

Please state file number on list.

 

 
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 15o0f20 PagelD 77

Bee

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UNITED STATES
B POSTAL SERVICE

 

Date Produced: 04/24/2023
TN SECRETARY OF STATE:
The following is the delivery information for Certified Mail™ item number 9489 0090 0027 6449 1119 76.

Our records indicate that this item was delivered on 04/17/2023 at 10:05 a.m. in BLOOMINGTON, IL
61710. The scanned image of the recipient information is provided below.

ewe wrens

TL pte A

| Mike Hoback

Signature of Recipient :

 

 

[xl 7 LAA J

Address of Recipient :

 

 

Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
please contact your local post office or Postal Service representative.

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. It is solely for customer use.

RM,

Customer Reference Number: C-23-77
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 16o0f20 PagelD 78

A A

Division of Business Services
Department of State

State of Tennessee
312 Rosa L. Parks AVE, 6th FL
Nashville, TN 37243-1102

 

 

 

 

 

 

Tre Hargett
Secretary of State

WILLIAM GRIFFIN, PA
128 POPLAR STREET
GADSDEN, TN 38337

 

 

 

 

Receipt Detail
Receipt ID: 008033801
Receipt Date: 04/10/2023
Receipt Total: $20.00
Item Description Check/Ref # DLN # Price # Amount
Summons Summons 13633480 $20.00 1 $20.00
Payment-Account WILLIAM GRIFFIN, PA, 103446 , $20.00 1 ($20.00)

GADSDEN, TN

 

Phone (615) 741-2286 * Fax (615) 741-7310 * Website: http://tnbear.tn.gov/
 

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AMEE Ts

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

CYNTHIA OVERTON,

Plainuff,

¥. Docket #1 -23-cv-01082

STATE FARM FIRE AND CASUALTY
COMPANY, GLORIA JARVIS, and

RYAN BROWN,

Defendants.

DECLARATION OF GLORIA JARVIS

VATE GF TEXAS

COUNTY OF DENTON
GLORIA JARVIS. pursuant to 28 U.S.C. § 1746, declares under penalty of perjury as

follows:

L. lam over the age of 18 years and have personal knowledge of all of the facts stated
herein.

Di lam employed by State Farm Mutual Automobile Insurance Company.

a I reside in Denton County, Texas,

4, I have not been personally served with a copy of a summons and Complaint in the

case of Cynthia Overton y. State Farm Fire and Casualty Company, Gloria Jarvis, and Ryan
Brown currently pendiig in the United States District Court for the Western District of Tenuessee,

Case No, 1:23-cv-01082,

 
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5. A copy of the summons and Complaint in the case of Cynthia Overton v. State

Farm Fire and Casualty Company, Gloria Jarvis, and Ryan Brown currently pending in the United

States District Court for the Western District of Tennessee, Casé No. 1:23-cv-01082, has not been

left at my dwelling or usual place of abode with someone of suitable age and discretion who resides

there.

6. A copy of the summons and Complaint in the case of Cynthia Overton v, State

Farm Fire and Casualty Company, Gloria Jarvis, and Ryan Brown currently pending in the United

States District Court for the Western District of Tennessee, Case No. 1:23-cv-01082, has not been

delivered to an agent authorized by appointment or by law to receive service of process for me.

7. A copy of the summons and Complaint in the case of Cynthia Overton v. State

Farm Fire and Casualty Company, Gloria Jarvis, and Ryan Brown currently pending in the United

States District Court for tie Western Dismict of feimessee, Case No, 1:23-cv-01082, has not been

the Tennessee Secretary of State.

delivered to me by registered or certified return reccipt mail by

I, Gloria Jarvis, declare under penalty of perjury that the foregoing ig true and correct.
Executed on S Sy 2 2

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GLORIA JARVIS

oe y@ipre
Case 1:23-cv-01082-STA-jay Document 15-1 Filed 05/26/23 Page 19 of 20 PagelD 81

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

CYNTHIA OVERTON,
Plaintiff,
V. Docket #1:23-cv-01082
STATE FARM FIRE AND CASUALTY
COMPANY, GLORIA JARVIS, and
RYAN BROWN,

Defendants,

 

DECLARATION OF RYAN BROWN

 

STATE OF TENNESSEE
COUNTY OF MADISON

RYAN BROWN, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury as

follows:
L. I am over the age of 18 years and have personal knowledge of all of the facts stated
herein.
2. 1am employed by State Farm Mutual Automobile Insurance Company. ‘
3. I reside in Madison County, Tennessee.
4, I have not been personally served with a copy of a summons and Complaint in the

case of Cynthia Overton v. State Farm Fire and Casualty Company, Gloria Jarvis, and Ryan
Brown currently pending in the United States District Court for the Western District of Tennessee,

Case No. 1:23-cv-01082.

EXHIBIT

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States District Court for the Western District of Tennessee, Case No. 1:23-cv-01082, has not been
delivered to me by registered or certified return receipt mail by the Tennessee Secretary of State.

1, Ryan Brown, declare under penalty of perjury that the foregoing is true and correct.

Executed on 5 34

 
